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    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 18-1356V
                                        (not to be published)


    WILLIAM C. FINNEY, as Personal
    Representative of the Estate of                             Chief Special Master Corcoran
    JEAN FINNEY, Deceased,
                                                                Filed: August 21, 2020
                         Petitioner,
    v.                                                          Special Processing Unit                 (SPU);
                                                                Attorney’s Fees and Costs
    SECRETARY OF HEALTH AND
    HUMAN SERVICES,

                         Respondent.


Diana Lynn Stadelnikas, Maglio Christopher & Toale, PA, Sarasota, FL, for Petitioner.

Claudia Barnes Gangi, U.S. Department of Justice, Washington, DC, for Respondent.

                       DECISION ON ATTORNEY’S FEES AND COSTS 1

       On September 5, 2018, William C. Finney, as personal representative of the estate
of Jean Finney filed a petition for compensation under the National Vaccine Injury
Compensation Program, 42 U.S.C. §300aa-10, et seq., 2 (the “Vaccine Act”). Petitioner
alleges that the decedent suffered GBS and subsequent death related to an adverse
reaction to the influenza vaccination she received on November 10, 2017. Petition at 1.

1  Because this unpublished Decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the Decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.

2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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On May 26, 2020, a decision was issued awarding compensation to Petitioner based on
the parties’ stipulation. (ECF No. 40).

       Petitioner has now filed a motion for attorney’s fees and costs, dated July 8, 2020,
(ECF No. 45), requesting a total award of $25,736.44 (representing $24,855.50 in fees
and $880.94 in costs). Pursuant to General Order #9, Petitioner filed a signed statement
indicating that Petitioner incurred no out-of-pocket expenses. (ECF No. 45-3).
Respondent reacted to the motion on July 27, 2020, indicating that he is satisfied that the
statutory requirements for an award of attorney’s fees and costs are met in this case and
defers to the Court’s discretion to determine the amount to be awarded. (ECF No. 46).
On July 29, 2020, Petitioner filed a reply requesting that the court award Petitioner all fees
and costs requested in Petitioner’s application. (ECF No. 47).

      I have reviewed the billing records submitted with Petitioner’s request. In my
experience, the request appears reasonable, and I find no cause to reduce the requested
hours or rates.

       The Vaccine Act permits an award of reasonable attorney’s fees and costs. §
15(e). Accordingly, I hereby GRANT Petitioner’s Motion for attorney’s fees and costs. I
award a total of $25,736.44 (representing $24,855.50 in fees and $880.94 in costs) as a
lump sum in the form of a check jointly payable to Petitioner and Petitioner’s counsel3. In
the absence of a timely-filed motion for review (see Appendix B to the Rules of the Court),
the Clerk shall enter judgment in accordance with this decision. 4

IT IS SO ORDERED.

                                                          s/Brian H. Corcoran
                                                          Brian H. Corcoran
                                                          Chief Special Master




3 Petitioner requests checks be forwarded to Maglio Christopher & Toale, PA, 1605 Main Street, Suite

710, Sarasota Florida, 34236.
4 Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment by filing a joint notice
renouncing their right to seek review.
                                                    2
